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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 23-80101-CR-CANNON

     UNITED STATES OF AMERICA,

                    Plaintiff,

     v.

     DONALD J. TRUMP,
     WALTINE NAUTA, and
     CARLOS DE OLIVEIRA,

                    Defendants.
                                            /

                                     JOINT DISCOVERY REPORT

            In accordance with the Court’s Order of July 21, 2023 (ECF No. 83), the United States of

     America files this discovery report.       That Order contemplates a Joint Discovery Report being

     filed, but as the Defendants have yet to produce any discovery, the Government has prepared this

     Report. Counsel for the Defendants have reviewed this Report and agree that it is consistent with

     representations that the Government has made to the defense when producing discovery.

            The Government has made five productions of unclassified discovery as follows:

            (1) Production 1, consisting of about 833,000 pages of documents and CCTV footage,
                which was provided to Trump on June 21, 2023; to Nauta on July 6, 2023; and to De
                Oliveira on August 11, 2023. See ECF Nos. 30, 59, 113. The production included,
                inter alia, search warrants and applications; evidence obtained through search warrants
                and subpoenas; witness statements made prior to May 12, 2023; grand jury testimony
                presented in the District of Columbia and the Southern District of Florida; and CCTV
                footage obtained prior to May 2023. In this production, the Government identified
                approximately 4,500 pages of key documents and key CCTV footage. The Defendants
                estimate that this production contained over 2,900 days of CCTV footage (i.e., nearly
                8 years), which includes about 6 hours of key CCTV footage the Government has
                identified. Although the Government has not broken down its estimate of footage by
                production, the Government’s estimate of total footage is roughly half of the
                Defendants’ estimate.1

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     The Government produced all footage that it received in its investigation, not just the footage that

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         (2) Production 2, consisting of more than 283,000 pages of documents, which was provided
             to Trump and Nauta on July 17, 2023, and to De Oliveira on August 11, 2023. See ECF
             Nos. 80, 113. The production included, inter alia, relevant content from three
             additional devices, which had been produced voluntarily; witness statements between
             May 12 and June 23, 2023; forms generated by the Federal Bureau of Investigation;
             and materials obtained from the U.S. Secret Service.

         (3) Production 3, consisting of about 6,700 pages of documents and CCTV footage, which
             was provided to Trump and Nauta on July 31, 2023, and De Oliveira on August 11,
             2023. See ECF Nos. 92, 113. The production included, inter alia, additional witness
             memorialization and grand jury transcripts and the remainder of CCTV footage
             obtained in the investigation.     In this production, the Government identified key
             CCTV footage. The Defendants estimate that this production contained nearly 800
             days of CCTV footage (i.e., more than 2 years), including about 98 minutes of key
             CCTV footage the government identified.

         (4) Production 4, consisting of about 138,000 pages of documents, which was provided to
             all Defendants on August 15, 2023. See ECF No. 122. The production included,
             inter alia, the filtered, scoped search warrant returns from Defendant Nauta’s phones
             and additional witness memorialization.

         (5) Production 5, consisting of about 22,000 pages of documents, which was provided to
             all Defendants on September 1, 2023. See ECF No. 143. The production included,
             inter alia, the witness statements made during the investigation conducted in United
             States v. Donald J. Trump, Case No. 1:23-cr-00257 (D.D.C.), by witnesses who also
             gave statements in this case, and copies of certain materials in the fifteen boxes that
             Defendant Trump provided to National Archives and Records Administration
             (“NARA”) in January 2022.

         In sum, the Government has provided to the defense five productions of unclassified

  discovery, totaling about 1.28 million pages. The Defendants estimate that the Government has

  provided more than 3,700 days, or over 10 years, of CCTV footage; again, the Government’s

  estimate is roughly half of these numbers.         All productions have been accompanied by a

  Discovery Log, denoting by Bates range the source of the material. The Government represents

  that, at this time, it has produced all search warrants and the filtered, scoped returns; all witness

  memorialization in the Special Counsel Office’s possession as of our most recent production

  (September 1, 2023); all grand jury testimony; and all CCTV footage obtained in the Government’s


 is subject to Rule 16, Fed. R. Crim. P. As noted, the Government has already identified a limited
 set of “key” footage, which consists of fewer than eight hours of footage.
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  investigation.   The Government will produce on a rolling basis additional unclassified witness

  material as it is acquired and will later produce additional Jencks material, such as agent

  communications.

           On September 13, 2023, the Government also made its first production of classified

  discovery, some of which may be viewed by counsel with interim clearances, and some of which

  requires counsel to have final clearances with additional necessary read-ins into various

  compartments.     This material includes classified documents that had been stored at Mar-a-Lago

  as well as other classified material generated or obtained in the Government’s investigation,

  including documents related to witness interviews such as reports and transcripts.            The

  Government anticipates making additional productions of classified discovery, which will include

  additional Jencks material, additional material related to witness interviews, and other documents

  obtained during the Government’s investigation.

           The Government is aware of its continuing duty to disclose additional information as

  required by the Standing Discovery Order, Rule 16(c) of the Federal Rules of Criminal Procedure,

  Brady v. Maryland, Giglio v. United States, Napue v. Illinois, and the obligation to assure a fair

  trial.


                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel

                                       By:     /s/ Jay I. Bratt
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                                CERTIFICATE OF SERVICE

         I hereby certify that on September 14, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record via transmission of Notices of Electronic Filing generated

  by CM/ECF.

                                               s/ Jay I. Bratt
                                               Jay I. Bratt




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